          Case 1:11-cr-00415-AWI-BAM Document 45 Filed 08/03/12 Page 1 of 1


 1   MICHAEL IAN GAREY/ BAR #50565
     ATTORNEY AT LAW
 2   714 North Spurgeon
     Santa Ana, California 92701
 3   (714) 834-0950
     E-Mail: MIG995@aol.com
 4
 5                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
 6
 7   United States of America,            ) Case No. 11-CR-00415-AWI
 8                                        )
                       Plaintiff,         )
 9   v.                                   ) ORDER
                                          )
10                                        )
                                          )
11   JOSE LUIS VALENCIA-DIAZ,             )
                                          )
12                Defendant.              )
     _________________________            )
13
                                       ORDER
14
     IT IS SO FOUND AND ORDERED this 2nd day of August, 2012,
15
     that Defendant Jose Luis Diaz Valencia, be allowed to file a
16
     motion to suppress consisting of forty-six pages.
17
     IT IS SO ORDERED.
18
19   Dated:   August 2, 2012
     0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28
